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       AO 93 (Rev, 12/09) Search and Seizure Warrant (page 2)

                                                                                              Return
       Case No.:         t. '(;-"'..)'
                                   -                     Date and time warrant executed:                      Copy of warrant and inventory left with:
                O{·i8SZ-                                     llv-(\l~        &~t-     ~:O.-l~~",,-             -:5'",\'\(_    (_c;:x.\\cl<.(._
       Inventory made in the presence of:                                                                                                   -
                                                              G-c:J.N't...-\-'t F ("t"A~               ~    ,A.   *3  CnA(!. ~   \~     5,;je \
       Inventory of the property taken and name of any person(s) seized:
       [please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
       seized pursuant to the warrant (e.g., type of documents, as opposed to "miscellaneous documents") as well as the approximate
       volume of any documents seized (e.g., number of boxes). Ifreference is made to an attached description of property, specify the
       number of pages to the attachment and any case number appearing thereon.]

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         Ll G\."(_~ '\ LJc~\c."'.
         ') )        ~ \ e; c.\.(      i   e\,   co ,'L.(_




                                                                                          Certification (by officer present during the execution of the warrant)

      I declare under penalty of perjury that I am an officer who executed this warrant and that this inventory is correct and
      was returned along with the original warrant to the designated judge through afiling with the Clerk's Office.




     Date: _~=----><L,-=-b lr-<-l ~..::....___
                                                                                                                   Executing officer's Signature


                                                                                                                       Printed n~me a:uititle




AUSA: Joey L. Blanch, (213) 894-3315
